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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DENISE M. HENNING, CPA LLC,

                      Plaintiff,                          Civil Action No. 2:20-cv-905

       v.                                                 Hon. William S. Stickman IV

THE PNC FINANCIAL SERVICES GROUP,
INC., PNC BANK, N.A., and DOES 1
THROUGH 100, INCLUSIVE,

                      Defendants.



                         ORDER SETTING BRIEFING SCHEDULE

       AND NOW, this 20th day of July 2020, Defendants having filed a Motion to Dismiss with

Memorandum of Law in Support thereof, ECF Nos. 11 and 12, IT IS HEREBY ORDERED that

Plaintiff’s response and brief in opposition thereto, not to exceed twenty pages, shall be filed by

August 10, 2020. Defendants shall file any reply briefs, not to exceed fifteen pages, by August

17, 2020.


                                                     BY THE COURT:


                                                     /s/ William S. Stickman IV
                                                     WILLIAM S. STICKMAN IV
                                                     UNITED STATES DISTRICT JUDGE
